        Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 1 of 43


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 3
                          UNITED STATES DISTRICT COURT
 4
                         EASTERN DISTRICT OF CALIFORNIA
 5
 6
 7   JOHN GARCIA,                           No. 1:07-CV-00867-OWW-DLB
 8               Plaintiff,                 MEMORANDUM DECISION RE
            v.                              DEFENDANT ALFREDO CARDWOOD’S
 9                                          MOTION FOR SUMMARY JUDGMENT
     CITY OF MERCED, CITY OF MERCED         OR PARTIAL ADJUDICATION
10   POLICE DEPARTMENT, BUREAU OF           (Doc. 58)
     NARCOTICS ENFORCEMENT SPECIAL
11   AGENT SUPERVISOR ALFREDO
     CARDWOOD, et al.,
12
                 Defendant.
13
14                            I.     INTRODUCTION.
15          Plaintiff John Garcia, an attorney, brings this action under
16   42 U.S.C. § 1983 for violation of his Fourth Amendment rights.          His
17   suit arises from, but is not limited to, a warrant that was
18   executed on February 6, 2006 for the search of his law office in
19   Merced, California. The warrant culminated the Merced Multi-Agency
20   Narcotic Task Force’s investigation into allegations that John
21   Garcia was smuggling narcotics into the Merced County Jail.           Based
22   on information from Robert Plunkett, an inmate at Merced County
23   Jail, the Task Force conducted a “reverse sting” operation whereby
24   Task    Force   Agents   observed   Plaintiff   receive,   inspect,     and
25   transport approximately fourteen grams of methamphetamine Plunkett
26   offered to Plaintiff.         Following the sting, Task Force Agents
27   obtained a warrant to search 655 West Nineteenth Street, Merced,
28   California, the law offices of John Garcia.       The warrant was based
     on the oral affidavit of Deputy Sheriff John Taylor and Special
        Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 2 of 43


 1   Agent Alfredo Cardwood and was authorized by Judge Frank Dougherty
 2   of the Merced Superior Court.
 3        On    March    13,   2007,    Plaintiff   filed     a    Complaint     against
 4   Defendants City of Merced; City of Merced Police Department;1
 5   California Bureau of Narcotics Enforcement Special Agent Alfredo
 6   Cardwood (“Cardwood”); County of Merced; Merced County Sheriff’s
 7   Department; Merced County Deputy Sheriff John Taylor (“Taylor”);
 8   Merced    County    District      Attorney’s   Office;       and   Merced    County
 9   District Attorney Gordon Spencer (“Spencer”).                Agent Cardwood and
10   Deputy Taylor are sued in their individual capacities.                The County
11   of Merced is sued as a municipal entity that acts by and through
12   its individual deputies.
13        The    First    Cause   of    Action   alleges    assault       against    all
14   Defendants; the Second Cause of Action alleges battery against all
15   Defendants; the Third Cause of Action alleges false arrest and
16   imprisonment with a warrant against all Defendants; the Fourth
17   Cause of Action alleges defamation by slander against Cardwood;2
18   the Fifth Cause of Action alleges a violation of Title 42, United
19   States Code, Section 1983 against all Defendants.3
20        Before the court for decision is Cardwood’s motion for summary
21
          1
22          City of Merced and City of Merced Police Department were
     dismissed pursuant to stipulation (F.R.C.P. 41(a)) on June 17,
23   2009. (Doc. 70.)
          2
24          Plaintiff’s claim for defamation against                     Cardwood    was
     previously dismissed. (Doc. 73, 2:6-2:9.)
25
          3
26          The motion for summary judgment filed by Defendants County
     of Merced; Merced County Sheriff’s Department; Merced County Deputy
27   Sheriff John Taylor; Merced County District Attorney’s Office; and
     Merced County District Attorney Gordon Spencer is resolved by
28   separate Memorandum Decision.

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          Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 3 of 43


 1   judgment or, in the alternative, summary adjudication. Cardwood is
 2   a Special Agent for the California Department of Justice, Bureau of
 3   Narcotic Enforcement.
 4
 5                          II.          FACTUAL BACKGROUND.4
 6         Plaintiff is an experienced criminal defense attorney.                          For
 7   the past twenty years, Plaintiff represented criminal defendants in
 8   Merced County, including Alfonso Robledo, an inmate at Merced
 9   County Jail in early 2006.
10         Defendant Alfredo Cardwood is a special agent with the State
11   of   California    Department        of        Justice,      Bureau     of     Narcotics
12   Enforcement    (“BNE”).       The    BNE       has   nine    regional    offices      and
13   numerous    regional   task    forces          located      throughout       California,
14   including the Merced Multi-Agency Narcotic Task Force.                           Special
15   Agent Cardwood was the supervising agent in charge of the Merced
16   Multi-Agency Narcotic Task Force.               (Cardwood Dec. ¶ 4.)
17         Defendant County of Merced is a public entity organized under
18   California law. Merced County Sheriff’s Department is a department
19   of the County of Merced, with the responsibility to maintain and
20   administer law enforcement in Merced County. Defendant John Taylor
21   is a deputy with the Merced County Sheriff’s Department, who acted
22   as the Task Force’s primary case agent.
23         Defendant    Merced     County       District       Attorney’s         Office   was
24
           4
            Unless otherwise noted, the facts herein are undisputed.
25   (See Def.’s Stmt. of Undisp. Facts in Supp. of Summ. J. (“SUF”),
26   Doc. 58-5, filed May 5, 2009).     Plaintiff filed objections to
     certain items of Defendant’s evidence.    Except where otherwise
27   noted, such evidence is immaterial to the court’s analysis of
     Defendant’s motion or the objections are without merit.
28

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        Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 4 of 43


 1   established   by     the    Constitution      of    the    State    of    California,
 2   Government    Code    Section     26500,       to   provide        prosecution      and
 3   enforcement services in adult and juvenile criminal matters for
 4   Merced County.       At all relevant times, Gordon Spencer was the
 5   District Attorney for Merced County.
 6        In early 2006, Doug Jensen, Commander of the Merced County
 7   Sheriff’s Department, contacted Deputy Taylor with information
 8   about a contraband smuggling operation at the County Jail. (Taylor
 9   Dep. 11:12-11:22.)         Jensen told Taylor that an inmate named Robert
10   Plunkett (“Plunkett”), told one of his Sergeants, Sergeant Pace,
11   that a local attorney was smuggling contraband into the jail. (Id.
12   at 11:23-11:25.)      Plunkett told Sergeant Pace that the smuggling
13   operation involved an attorney named “John Garcia.”                      (Id.)
14        Deputy Taylor began a formal investigation into the smuggling
15   operation, without apprising Garcia of the events and occurrences
16   related to his investigation.         (Cardwood Dec. 4.)              Deputy Taylor
17   interviewed Plunkett multiple times in late January and early
18   February.      Plunkett        informed       Taylor      that     Alfonso       Robledo
19   (“Robledo”), a fellow inmate at Merced County Jail, told him that
20   he obtained drugs through his attorney, John Garcia.                     According to
21   Plunkett (via Robledo), Garcia would bring the drugs to their
22   attorney-client meetings, disguised in a Bugler cigarette package.
23   Garcia would give the Bugler package containing the drugs to
24   Robledo, who would return to his cell with the Bugler package.
25   According to Taylor, Plaintiff’s versions of the smuggling ring
26   were consistent.
27        Taylor met with Plunkett between three and ten additional
28   times over the next twenty days. Plunkett provided further details

                                               4
           Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 5 of 43


 1   of    the   alleged     smuggling,    including     that    certain   nonviolent
 2   offenders smuggled contraband into the Jail while on a “pass” from
 3   the    facility.      (SUF   14.)    These    individuals    would    obtain   the
 4   contraband and either place it in one of their body cavities and/or
 5   hand it off to Garcia, who would bring it into the Jail at a later
 6   date.       (SUF 14.)      Plunkett also told Taylor that the alleged
 7   members of the smuggling ring included Robledo, Garcia, Sylvia
 8   Brown, a friend of Robledo’s, and two private investigators working
 9   for Garcia, Augustine Provencio and Greg Hassen.
10          Deputy Taylor sought corroboration for Plunkett’s statements
11   concerning the smuggling ring, including the identities of the
12   alleged     participants     and    the   basis   for   Plunkett’s    knowledge.
13   Deputy Taylor researched jail records and confirmed that inmate
14   Robledo was in custody at the Merced County Jail on various drug-
15   related offenses and that Robledo and Plunkett shared a housing
16   unit.       (SUF 18-19.)     Deputy Taylor also checked John Garcia’s
17   criminal record, confirming that Garcia had a history of drug-
18   related violations.        (SUF 20.)
19          Deputy Taylor checked for Plunkett’s name in a computer
20   database of unreliable informants, maintained by narcotics officers
21   who were given unreliable tips.               Plunkett’s name was not in the
22   database.       Deputy Taylor also discovered Sylvia Brown’s phone
23   number in one of Robledo’s previous bookings. According to Taylor,
24   Plunkett’s information was credible.              Agent Cardwood was familiar
25   with the steps Deputy Taylor took to build the case.                   (Cardwood
26   Dec. ¶ 4.)
27          The Task Force then planned a reverse-sting operation to
28   confirm Plunkett’s statements and determine whether or not Garcia

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           Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 6 of 43


 1   was smuggling contraband into the Jail.           In early February 2006,
 2   Agent       Taylor   obtained   methamphetamine   from    the   Merced   County
 3   evidence department for the reverse-sting operation.                After the
 4   Court granted the order to obtain the methamphetamine, it was
 5   placed in a Bugler brand cigarette package.              (Cardwood Dec. ¶ 5.)
 6   According to Taylor and Cardwood, the methamphetamine was clearly
 7   visible upon opening the Bugler package.            (Cardwood Dec. ¶ 5.)
 8          On February 6, 2006, Agent Taylor and another Task Force Agent
 9   met with Plunkett, searched his person for illegal contraband or
10   narcotics, and upon finding none, the officers gave Plunkett the
11   methamphetamine.         Plunkett was fitted with both a "wire" and a
12   digital recorder.          The sting operation required Plaintiff to
13   contact John Garcia at the Merced County Superior Courthouse,
14   giving him the Bugler tobacco pouch.          Plunkett would tell Garcia
15   that he was on a “pass” from Sandy Mush Correctional Facility and
16   that the package was for Robledo.             Agent Cardwood personally
17   monitored the wire during the reverse-sting operation.5 (SUF 32.)
18   In addition to audio surveillance, Agent Cardwood was stationed in
19   a vehicle near Plaintiff’s office and had a clear view to monitor
20   the interaction between Plaintiff and Plunkett. (Cardwood Dec. ¶
21   6.)
22          Plunkett proceeded to the Merced County Superior Court and
23   approached John Garcia in one of the courtrooms. Plunkett told him
24   that he was a friend of one of Garcia’s clients, Alfredo Robledo.
25   Plaintiff gave Plunkett a business card and told him to contact his
26
27
             5
           According to Cardwood, the transmission was of poor-quality,
28   making it difficult to hear the parties. (Cardwood Dec. ¶ 6.)

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          Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 7 of 43


 1   office.     Plunkett then left the courtroom.
 2          Approximately    one   hour   later,   Plunkett   approached    Garcia
 3   outside the courtroom and told him he had a package for Garcia.
 4   Plaintiff instructed Pluckett to drop it off at his office. Garcia
 5   then went back inside the courtroom.          A short time later, Pluckett
 6   approached Garcia outside the courthouse, telling him that he could
 7   not locate his office.         As they walked toward Garcia’s office,
 8   Plunkett told Garcia that he was on an afternoon pass from Sandy
 9   Mush and knew Robledo.        Plunkett then produced the Bugler tobacco
10   pouch containing the methamphetamine and handed it to Garcia. (SUF
11   31.)       Garcia took the Bugler tobacco pouch from Pluckett and
12   continued walking to his office.            (SUF 31, 33, 37.)       Plaintiff
13   possessed the Bugler package containing the methamphetamine when he
14   entered his office building.         (SUF 38.)
15          The record reflects considerable dispute over whether Garcia
16   opened the Bugler package while he and Pluckett were walking to
17   Garcia’s office.       Agent Cardwood maintains that Plaintiff opened
18   the Bugler package, looked inside, closed the package, and walked
19   to   his    office.    (SUF   34,    35.)     Cardwood   declares   that   the
20   methamphetamine was directly underneath the flap, clearly visible
21   to anyone who opened it.        (SUF 36;)      Agent Carlisle and Plunkett
22   also observed Garcia look inside the tobacco pouch during the
23   exchange.     (Taylor Dec. ¶ 22.)
24          According to Plaintiff, he told Pluckett that, “if there’s
25   anything in here besides tobacco, you take it back to Sylvia or
26   wherever you got it.”     Plaintiff maintains that he did not open the
27   tobacco pouch during the exchange nor did he open it while walking
28   to his office.

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        Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 8 of 43


 1        When Plaintiff and Plunkett arrived at the office, Plaintiff
 2   placed the Bulger package on his secretary’s desk.          Plaintiff’s
 3   investigator, Provencio, was present in the office.            Plunkett
 4   stayed in the office only a few moments before leaving.                 He
 5   contacted Agent Taylor and told him that Plaintiff took the Bugler
 6   pouch into the office and handed it to his secretary.      (Taylor Dec.
 7   ¶ 21.)
 8        Plaintiff’s other investigator, Hassen, arrived shortly after
 9   Plunkett left.   Garcia and his investigators opened the tobacco
10   pouch, discovering the methamphetamine.        Garcia then instructed
11   Provencio to flush the methamphetamine down the toilet.       Provencio
12   did so and then discarded the bag into the bathroom trash can.
13   Garcia then left his office in a black Volvo.
14        After driving one mile, Garcia’s Volvo was stopped by a City
15   of Merced Police patrol vehicle.       (SUF 39.)     A total of three
16   officers, including Cardwood, were present when Plaintiff was
17   stopped leaving his office.    (Cardwood Dec. ¶ 10.)     Agent Cardwood
18   approached Garcia’s stopped vehicle, directing him to exit the
19   vehicle and proceed to the sidewalk.           (Cardwood Dec. ¶ 10.)
20   Plaintiff was handcuffed and searched. (SUF 40.)         Plaintiff was
21   then transported back to his office for questioning.          (SUF 41.)
22   Plaintiff’s office was “frozen” pending the issuance of a search
23   warrant, ensuring that no one entered or exited the building.
24        Garcia was not threatened during the vehicle stop and there
25   was no physical contact other than the brief search.         At no time
26   did the Task Force Agents tell Plaintiff he was under arrest.           The
27   entire stop took less than half an hour.
28        While Plaintiff was transported back to his office, Agent

                                        8
        Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 9 of 43


 1   Cardwood and Deputy Taylor sought a search warrant from Superior
 2   Court Judge Frank Dougherty. (SUF 41-42.)               In a verbal search
 3   warrant application, under penalty of perjury, Cardwood and Agent
 4   Taylor testified to the investigation and their observations during
 5   the reverse-sting operation. (Id.) Judge Dougherty found probable
 6   cause to issue the search warrant based on the fact that Plaintiff
 7   had taken possession of the methamphetamine.                (Id.)    The search
 8   warrant authorized a search of Plaintiff, Plaintiff’s vehicle and
 9   Plaintiff’s   office    to     allow,   in   part,    the   recovery       of   the
10   methamphetamine.       (Id.)     Judge Dougherty appointed a Special
11   Master, Gerald Brunn, to be present during the search.6
12        Plaintiff’s allegations focus on Agent Cardwood’s and Deputy
13   Taylor’s    alleged    misrepresentations       and    omissions      to    Judge
14   Dougherty supporting Deputy Taylor’s Oral Affidavit.                According to
15   Plaintiff, Agent Cardwood’s observation that Garcia opened the
16   bugler pouch is a total fabrication.            Plaintiff maintains that
17   while he accepted the Bugler pouch from Plunkett, he did not open
18   the flap.   Plaintiff also accuses Deputy Taylor of misrepresenting
19   and omitting material facts, specifically, omitting Mr. Plunkett’s
20   extensive criminal history, bearing on his credibility.                     Agent
21   Cardwood and Deputy Taylor maintain that all of the information
22   they provided to Judge Dougherty on February 6, 2006 was accurate
23   and true.   (Taylor Dec. ¶ 24; Cardwood Dec. ¶ 14.)
24        The search of Garcia’s office revealed a plastic baggie
25   containing a small amount of methamphetamine in the bathroom area
26
          6
27          The search did not commence until Specal Master Brunn
     arrived.   Defendants provided Garcia’s staff with dinner while
28   waiting for Special Master Brunn to arrive.

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           Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 10 of 43


 1   and a small amount of methamphetamine residue in the main office.
 2   (SUF 45.)        Six packages of “Bugler” brand tobacco and one ziplock
 3   bag of tobacco were found in the top drawer of Garcia’s desk. (SUF
 4   45.)        A one pound scale, similar to the kind used to weigh drugs,
 5   was found on Garcia’s desk.7            (SUF 45.)
 6           Following the search, Agent Cardwood and Deputy Taylor removed
 7   Garcia’s handcuffs and advised him of his Miranda rights.                        (SUF
 8   48.)        Cardwood and Taylor interviewed Garcia for approximately one
 9   hour.8       (SUF 49.)    Garcia was then released.        (SUF 49.)    Garcia was
10   not    arrested,     charged,    or   prosecuted      in   connection     with    the
11   criminal investigation.          (SUF 50-52.)
12
13                               III. PROCEDURAL HISTORY.
14           On March 13, 2007, Plaintiff filed a complaint in the Superior
15   Court, County of Merced, against the County of Merced, Merced
16   County       Sheriff’s    Department,      Deputy   Taylor,    District   Attorney
17   Gordon Spencer, Special Agent Cardwood, City of Merced, and Merced
18   City Police Department.9         Plaintiff alleged defendants were liable
19   under       state   law   theories    of   assault,    abuse    of   process,     and
20   defamation by slander.
21           Plaintiff filed his first amended complaint on March 21, 2007,
22
23
             7
             Plaintiff was detained in his office during the search, but
24   was not arrested. He was permitted to use the restroom and was not
     threatened or mistreated during his detention.
25
             8
26          Plunkett consented to wearing a wire and recording the
     conversation.
27
             9
            Defendants City of Merced and City of Merced                         Police
28   Department were dismissed on June 17, 2009. (Doc. 70.)

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        Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 11 of 43


 1   his second amended complaint on April 5, 2007, and his third
 2   amended complaint on May 23, 2007. Unlike his previous complaints,
 3   Garcia’s third amended complaint included a cause of action for
 4   violation of federal civil rights pursuant to 42 U.S.C. 1983.            On
 5   June 15, 2007, the case was removed to federal court.10         (Doc 1.)
 6        On August 20, 2007, Plaintiff filed a Fourth Amended Complaint
 7   against Defendants.       Plaintiff alleged defendants were liable
 8   under 42 U.S.C. 1983 for unreasonable search and seizure (Count V);
 9   under the California Constitution for unlawful search and seizure
10   (Count VI); and state law claims for assault and battery, false
11   arrest and imprisonment, abuse of process, and defamation by
12   slander (Counts I-IV). Agent Cardwood and Deputy Taylor were sued
13
14        10
            Plaintiff filed his original complaint in the Superior Court
15   of Merced on March 13, 2007. Plaintiff then amended his complaint
     and filed his First Amended Complaint on March 21, 2007 to
16   substitute real names for fictitious “Doe” defendants. Plaintiff
     filed yet another amended complaint, his Second Amended Complaint
17   on April 5, 2007, pursuant to an ex parte application before
18   Defendants Merced and Merced Police could file a demurrer on the
     first amended complaint, which they claim they were preparing.
19   Defendants Merced, Merced Police and Merced County timely filed
     demurrers against the Second Amended Complaint, and a hearing was
20   set for May 31, 2007.       Plaintiff filed yet another amended
     complaint, a Third Amended Complaint on May 23, 2007. The Superior
21   Court of Merced permitted the hearing on the demurrer to the Second
22   Amended Complaint go forward despite the filing of the Third
     Amended Complaint. At the hearing the Court stated that it would
23   allow the Third Amended Complaint but would allow no further
     amendments until Defendants have had the opportunity to test the
24   sufficiency of the new complaint’s allegations. The Third Amended
     Complaint contained a federal cause of action pursuant to 42 U.S.C
25   § 1983 and, Defendants removed the action to Federal Court.
26   Defendants then timely filed a motion to dismiss the Third Amended
     Complaint on June 19, 2007. Plaintiff filed his Fourth Amended
27   Complaint on August 20, 2007. Defendants Merced and Merced Police
     then sought relief from the Court by their filing on August 28,
28   2007.

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         Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 12 of 43


 1   in their individual capacities and the County of Merced was sued as
 2   a   municipal         entity    that   acts    by    and   through   its    individual
 3   deputies.        (Doc. 15.)
 4          Defendants Merced County, Sheriff’s Dept., Taylor and Spencer
 5   filed their supplemental brief on the motion to dismiss the Fourth
 6   Amended Complaint on September 4, 2007.11                      (Doc. 19.)    Defendant
 7   Cardwood filed his supplemental briefing supporting the motion to
 8   dismiss on September 10, 2007.                 (Doc. 20.)        Plaintiff filed his
 9   opposition to Defendants’ motions on October 2, 2007. (Doc. 23,
10   24.)         Defendants’ motions were granted, in part, on January 10,
11   2008, although John Garcia was permitted leave to amend.                           (Doc.
12   34.)
13          Plaintiff filed his Fifth Amended Complaint (“5thAC”) on
14   January 30, 2008.            (Doc. 35.)       The First Cause of Action alleges
15   assault against all Defendants; the Second Cause of Action alleges
16   battery against all Defendants; the Third Cause of Action alleges
17   false        arrest    and     imprisonment        with    a   warrant   against     all
18   Defendants; the Fourth Cause of Action alleges defamation by
19   slander against Cardwood;12 the Fifth Cause of Action alleges a
20   violation of Title 42, United States Code, Section 1983 against all
21   Defendants.
22
23
             11
            A stipulation and order was entered by the Court and parties
24   on August 31, 2007 setting the motion to dismiss hearing date on
     Plaintiff’s previous complaints and permitting supplemental
25   briefings to be filed to address any alleged remaining deficiencies
26   in the Fourth Amended Complaint1 on the pending motions to dismiss.
     (Doc. 18.)
27
            12
              Plaintiff’s claim for defamation against Cardwood was
28   previously dismissed. (Doc. 73, 2:6-2:9.)

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          Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 13 of 43


 1          Defendants Merced County, Sheriff’s Dept., Taylor and Spencer
 2   filed their answer on February 19, 2008.           (Doc. 36.)    Defendant
 3   Cardwood filed his answer on February 26, 2008.          (Doc. 37.)
 4          Defendant Cardwood filed this motion for summary judgment, or
 5   in the alternative, summary adjudication on May 5, 2009.              (Doc.
 6   58.) Defendant seeks judgment on the grounds that Plaintiff cannot
 7   1) establish his federal constitutional claims, 2) overcome the
 8   defense of qualified immunity. Defendant also argues the state law
 9   claims should be dismissed because the deputies 3) acted lawfully,
10   and 4) Plaintiff lacks evidence to create a genuine issue of
11   material fact.
12          Plaintiff filed his opposition to summary judgment or, in the
13   alternative, summary adjudication on July 1, 2009. (Doc. 73.)
14   Plaintiff opposes summary judgment on grounds that triable issues
15   of material fact exist as to his constitutional claims and state
16   law theories.     Plaintiff argues that Cardwood unlawfully searched
17   and seized him in violation of is Fourth Amendment rights, relying
18   on Agent Cardwood’s and Deputy Taylor’s alleged misrepresentations
19   and omissions to Judge Dougherty.         Plaintiff further contends that
20   neither the County of Merced nor the individual defendant deputies
21   are entitled to qualified immunity or any protections under the
22   California Government Code.
23
24                              IV. LEGAL STANDARDS.
25   A.    Standard of Review.
26          Summary judgment is appropriate when “the pleadings, the
27   discovery and disclosure materials on file, and any affidavits show
28   that there is no genuine issue as to any material fact and that the

                                          13
           Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 14 of 43


 1   movant is entitled to judgment as a matter of law.”                Fed. R. Civ.
 2   P. 56(c).      A party moving for summary judgment “always bears the
 3   initial responsibility of informing the district court of the basis
 4   for its motion, and identifying those portions of the pleadings,
 5   depositions, answers to interrogatories, and admissions on file,
 6   together with the affidavits, if any, which it believes demonstrate
 7   the absence of a genuine issue of material fact.”              Celotex Corp. v.
 8   Catrett,     477   U.S.   317,   323   (1986)     (internal    quotation   marks
 9   omitted).
10           Where the movant will have the burden of proof on an issue at
11   trial, it must “affirmatively demonstrate that no reasonable trier
12   of fact could find other than for the moving party.” Soremekun v.
13   Thrifty Payless, Inc., 509 F.3d 978, 984 (9th Cir. 2007); see also
14   S. Cal. Gas Co. v. City of Santa Ana, 336 F.3d 885, 888 (9th Cir.
15   2003) (noting that a party moving for summary judgment on claim as
16   to which it will have the burden at trial “must establish beyond
17   controversy     every     essential    element”    of   the   claim)    (internal
18   quotation marks omitted).        With respect to an issue as to which the
19   non-moving party will have the burden of proof, the movant “can
20   prevail merely by pointing out that there is an absence of evidence
21   to support the nonmoving party’s case.” Soremekun, 509 F.3d at 984.
22   When a motion for summary judgment is properly made and supported,
23   the    non-movant    cannot   defeat    the   motion    by    resting   upon   the
24   allegations or denials of its own pleading, rather the “non-moving
25   party must set forth, by affidavit or as otherwise provided in Rule
26   56, ‘specific facts showing that there is a genuine issue for
27   trial.’”      Id. (quoting Anderson v. Liberty Lobby, Inc., 477 U.S.
28   242, 250 (1986)). “Conclusory, speculative testimony in affidavits

                                             14
           Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 15 of 43


 1   and moving papers is insufficient to raise genuine issues of fact
 2   and defeat summary judgment.”             Id.
 3           To defeat a motion for summary judgment, the non-moving party
 4   must show there exists a genuine dispute (or issue) of material
 5   fact.     A fact is “material” if it “might affect the outcome of the
 6   suit    under     the   governing   law.”       Anderson,       477    U.S.   at    248.
 7   “[S]ummary judgment will not lie if [a] dispute about a material
 8   fact is ‘genuine,’ that is, if the evidence is such that a
 9   reasonable jury could return a verdict for the nonmoving party.”
10   Id. at 248.         In ruling on a motion for summary judgment, the
11   district court does not make credibility determinations; rather,
12   the    “evidence     of   the   non-movant      is   to    be   believed,     and   all
13   justifiable inferences are to be drawn in his favor.”                    Id. at 255.
14
15   B.      Section 1983.
16           Plaintiff brings this lawsuit under 42 U.S.C. § 1983, which
17   provides a cause of action “against any person acting under color
18   of    law   who   deprives      another   ‘of    any      rights,     privileges,    or
19   immunities secured by the Constitution and laws’ of the United
20   States.”     S. Cal. Gas Co. v. City of Santa Ana, 336 F.3d 885, 887
21   (9th Cir. 2003)(quoting 42 U.S.C. § 1983).                 “The rights guaranteed
22   by section 1983 are ‘liberally and beneficently construed.’”                        Id.
23   (quoting Dennis v. Higgins, 498 U.S. 439, 443 (1991).
24           To establish liability under 1983, a plaintiff must show 1)
25   that he has been deprived of a right secured by the United States
26   Constitution or a federal law, and 2) that the deprivation was
27   effected “under color of state law.”                   Broam v. Bogan, 320 F.3d
28   1023, 1028 (9th Cir. 2003).

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          Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 16 of 43


 1   C.     Suits Against Government Officials: Official Capacity and
 2          Individual Capacity Suits.
 3          Suits against an official in her or his official capacity are
 4   treated as suits against the entity on whose behalf that official
 5   acts.    In such suits, the real party in interest becomes the entity
 6   for which the official works.          Hafer v. Melo, 502 U.S. 21, 25
 7   (1991).      A   federal   action   for   monetary    damages   against    an
 8   individual State official acting in his official capacity is barred
 9   by the Eleventh Amendment in the same way that an action against
10   the State is barred.       Doe v. Lawrence Livermore Nat'l Lab., 131
11   F.3d 836, 839 (9th Cir. 1997).
12          In   contrast,   “[p]ersonal-capacity     suits   seek   to   impose
13   personal liability upon a government official for actions [taken]
14   under color of state law.”        Dittman v. California, 191 F.3d 1020,
15   1027 (9th Cir. 1999)(citing Kentucky v. Graham, 473 U.S. 159, 165
16   (1985))(internal     quotations     omitted).    To   establish   personal
17   liability in a § 1983 action, it is enough to show that the
18   official, “acting under color of state law, caused the deprivation
19   of a federal right.”       Hafer, 502 U.S. at 25 (internal quotations
20   omitted).     Public officials sued in their personal capacity may
21   assert personal liability defenses, such as qualified immunity.
22   Dittman, 191 F.3d at 1027.        Here Plaintiff sues Agent Cardwood in
23   his individual and official capacities.
24
25   D.     Summary Judgment in the Qualified Immunity Context.
26          In this case, Agent Cardwood asserts the defense of qualified
27   immunity.     Qualified immunity is based on the policy concern that
28   few individuals would enter public service if they risked personal

                                          16
          Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 17 of 43


 1   liability for their official decisions.         Harlow v. Fitzgerald, 457
 2   U.S. 800, 814 (1982).      The immunity protects "all but the plainly
 3   incompetent or those who knowingly violate the law,”             Hunter v.
 4   Bryant, 502 U.S. 224, 228 (1991), and "spare[s] a defendant not
 5   only unwarranted liability, but unwarranted demands customarily
 6   imposed upon those defending a long drawn out lawsuit.” Siegert v.
 7   Gilley, 500 U.S. 226, 232 (1991).          Qualified immunity is not a
 8   defense on the merits; it is an “entitlement not to stand trial or
 9   face the burdens of litigation” that may be overcome only by a
10   showing that (1) a constitutional right was in fact violated and
11   (2) no reasonable deputy could believe defendant’s actions were
12   lawful in the context of fact-specific, analogous precedents.
13   Saucier v. Katz, 533 U.S. 194, 200-202 (2001).
14
15                                V.   DISCUSSION.
16   A.     Plaintiff’s First and Second Causes of Action
17          Plaintiff’s First and Second Causes of Action allege that
18   Agent Cardwood committed assault and battery against Plaintiff on
19   December 6, 2006.       Cardwood seeks summary judgment as to these
20   causes of actions on grounds that there is no genuine issue of
21   material fact to show that County Defendants assaulted or battered
22   Plaintiff.       Plaintiff    does   not   oppose   Defendants’    motion,
23   abandoning both causes of action.          (See Plaintiff’s Opposition
24   (“Pl.’s Opp.”), 2:3-2:12, filed July 1, 2009.)           Plaintiff states
25   that “Cardwood’s motion has ‘pierced’ plaintiff’s fifth amended
26   complaint; and that he has developed no evidence to support his
27   first and second causes of action for assault and battery.”          (Id.)
28          Plaintiff’s Fifth Amended Complaint also contains allegations

                                          17
          Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 18 of 43


 1   concerning a “conspiracy” against Plaintiff by Agent Cardwood.
 2   These allegations are not separately enumerated as a cause of
 3   action. Despite Agent Cardwood’s motion for summary judgment as to
 4   the “conspiracy” claim, Plaintiff does not allege or discuss a
 5   conspiracy, nor does he provide any evidence to support Agent
 6   Cardwood’s connection to the alleged conspiracy. Based on the lack
 7   of evidentiary support and Plaintiff’s concession that “he has no
 8   evidence of a conspiracy,” there is no issue of material fact on as
 9   to Plaintiff’s allegations of a conspiracy.13
10           Accordingly, summary judgment is GRANTED in favor of Agent
11   Cardwood as to Plaintiff’s first cause of action for assault and
12   his second cause of action for battery.
13          Summary judgment is GRANTED in favor of Agent Cardwood as to
14   the conspiracy allegations contained in Plaintiff’s Fifth Amended
15   Complaint.
16
17   B.     Fourth Amendment Claims (42 U.S.C. § 1983)
18          Plaintiff raises a number of arguments in support of his
19   Fourth Amendment claims: (1) that Agent Cardwood violated his
20   Fourth Amendment rights because he did not have probable cause to
21   “plant the drugs” on Garcia; (2) Agent Cardwood misrepresented
22   facts and omitted material information from the Oral Affidavit of
23   Probable Cause, leading to an improper search of Plaintiff’s
24   office; and (3) there was no probable cause to detain Plaintiff
25
            13
26          In his opposition to County Defendants motion for summary
     judgment, Plaintiff abandons any allegations of a conspiracy,
27   conceding that he “has no evidence of a conspiracy.” (Id. at 2:8-
     2-9.) For all intensive purposes, Plaintiff’s opposition to the
28   County’s motion is identical his opposition to Cardwood’s motion.

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          Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 19 of 43


 1   following the reverse sting operation.14
 2
 3          1.     Reverse Sting Operation
 4          Plaintiff first alleges that Agent Cardwood violated his
 5   Fourth Amendment rights because he did not have probable cause to
 6   conduct      a   “reverse-sting”    operation,     transferring       drugs   to
 7   Plaintiff in the process.        Plaintiff frames the relevant issue as
 8   whether Cardwood had probable cause to plant the drugs on Garcia as
 9   a pretext to obtain a search warrant.
10          This argument partially fails because Plaintiff does not
11   provide any authority for the proposition that the Fourth Amendment
12   requires probable cause to conduct an undercover investigation or,
13   in   this     instance,   a   reverse   sting   operation.       It   is   well-
14   established that being a target of a law enforcement investigation
15   - absent some allegation of a constitutional violation such as the
16   fabrication of evidence - is not in and of itself actionable under
17   § 1983.      See United States v. Mayer, 503 F.3d 740, 749-50 (9th Cir.
18   2007) (stating that “there is no requirement of probable cause when
19   a law enforcement agency investigates an individual or group.”);
20   see also Shields v. Twiss, 389 F.3d 142, 150-51 (5th Cir. 2004)
21   (dismissing allegations of “unreasonable investigation” because
22   appellant “pointed to no legal basis for a § 1983 action of this
23   sort, and the court knows of none.”).
24          The    Ninth   Circuit   recently     reaffirmed   this   principle    in
25
            14
26          Although pled as a single cause of action, Plaintiff’s Fifth
     Amended Complaint contains several non-enumerated claims for relief
27   under the Fourth Amendment.    For purposes of this motion, each
     subsidiary theory for relief under the Fourth Amendment is treated
28   as its own separate and distinct claim.

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          Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 20 of 43


 1   Sanders v. City and County of San Francisco, 226 F. App’x 687 (9th
 2   Cir. 2007). In Sanders, Plaintiffs, a former city police chief and
 3   former deputy police chief, brought a § 1983 action against the
 4   City, its former district attorney, and board of supervisors,
 5   alleging that these defendants violated their constitutional rights
 6   when they directed and participated in a criminal investigation
 7   against the chiefs without probable cause.                    The Ninth Circuit held
 8   that    there    is    no    requirement      to     have    probable      cause    before
 9   commencing a criminal investigation:
10             The district court properly dismissed appellants'
               claim that Hallinan violated their constitutional
11             rights when he directed and participated in a criminal
               investigation into Sanders's and Robinson's police
12             department activities, despite lacking probable cause
               to do so. Appellants point to no case law that
13             supports the proposition that probable cause must
               exist before an investigation can commence. That is
14             not surprising, given that the impetus behind criminal
               investigations is to develop probable cause.
15
16   (Id. at 689.)
17          As Macon and Sanders demonstrate, Agent Cardwood did not
18   violate Plaintiff’s constitutional rights when he coordinated a
19   sting     operation         which       transferred        methamphetamine         from    a
20   confidential informant to Plaintiff to test Plaintiff’s willingness
21   to   knowingly     transport        narcotics      into     the    jail.      The    sting
22   operation was a pre-indictment investigation into possible criminal
23   behavior by the Plaintiff, which does not require a probable cause
24   determination.         See id; Mayer, 503 F.3d at 749-50.                  As the Ninth
25   Circuit stated in United States v. Aguilar, 883 F.2d 662, 705 (9th
26   Cir.    1989),    requiring         a    search    warrant        prerequisite      to    an
27   investigation         “would   be       tantamount    to    prohibiting      a   criminal
28   investigation in its entirety, because the information learned from

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         Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 21 of 43


 1   undercover government agents is often the basis for probable
 2   cause.”15    Under the facts of this case, it is difficult to see how
 3   such a criminal investigation violates any law, constitutional or
 4   otherwise.
 5         It is equally well-established that the protections of the
 6   Fourth Amendment are implicated only if there has been a search or
 7   seizure under Fourth Amendment.          To the extent Plaintiff argues
 8   that he has a reasonable expectation of privacy in being free from
 9   a   sting   operation   conducted   by    government   agents   and   their
10   informants on public property, his claim is foreclosed by Supreme
11   Court and Ninth Circuit precedents.16
12
13         15
             Under slightly different facts in United States v. Aguilar,
14   883 F.2d 662, 705 (9th Cir. 1989), the Ninth Circuit discussed
     undercover operations in the context of probable cause: “A search
15   warrant requirement for undercover government agents to investigate
     an organization concededly engaging in protected first amendment
16   activities indeed would prohibit law enforcement officials from
     using an indispensable method of criminal investigation appropriate
17   in any other circumstance ... [i]n many cases, a search warrant
18   prerequisite would be tantamount to prohibiting a criminal
     investigation in its entirety, because the information learned from
19   undercover government agents is often the basis for probable cause.
     The Constitution does not impose this high cost in the present
20   case.”
21         16
            During oral argument, following a discussion of the relevant
22   case authorities on point, Plaintiff continued to “disagree that
     there was probable cause for the sting operation in the first
23   place.”    Plaintiff’s arguments are misplaced.       It is well-
     established that not every investigatory technique is a search for
24   Fourth Amendment purposes. See Maryland v. Macon, 472 U.S. 463,
     470 (1985) (“The use of undercover officers is essential to the
25   enforcement of vice laws ... [a]n undercover officer does not
26   violate the Fourth Amendment merely by accepting an offer to do
     business that is freely made to the public.”); United States v.
27   Mayer, 503 F.3d 740, 750 (9th Cir. 2007) (stating that “undercover
     operations, in which the agent is a so-called ‘invited informer,’
28   are not ‘searches’ under the Fourth Amendment.”); United States v.

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        Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 22 of 43


 1        The relevant Fourth Amendment language provides that "[t]he
 2   right of the people to be secure in their persons, houses, papers,
 3   and effects, against unreasonable searches and seizures, shall not
 4   be violated."         The protections of the Fourth Amendment only apply
 5   if there has been a search or seizure, making the threshold inquiry
 6   in every Fourth Amendment analysis whether a search or seizure has
 7   occurred.     A search is an intrusion on a person’s "reasonable
 8   expectation      of    privacy"       and    requires      Garcia   to    show      both   a
 9   subjective expectation of privacy and that the expectation is
10   objectively reasonable.           United States v. Sandoval, 200 F.3d 659
11   (9th Cir. 2000).
12        There       is    no   evidence        to   suggest    that    Plaintiff       had    a
13   subjective expectation of privacy in any aspect of the reverse
14   sting operation or that his privacy expectation, if established,
15   was objectively reasonable. Viewing all the evidence in his favor,
16   as required on a motion for summary judgment, Plaintiff cannot
17   establish    a    subjective      expectation        of     privacy      in   the    sting
18   operation - or the courthouse where the sting operation took place
19   - because Defendant Taylor never met with Task Force Agents in
20   Plaintiff’s      office     or   on    Plaintiff’s         property.      No     evidence
21   suggests that the parties ever crossed paths or shared a jail
22   meeting room.         Plaintiff did not own the physical property used in
23
24
     Dovali-Avila, 895 F.2d 206, 207-08 (5th Cir. 1990) (use of a well-
25   trained and reliable narcotics dog on vehicles passing through a
26   fixed border patrol checkpoint does not violate Fourth Amendment
     rights); United States v. Hoffa, 437 F.2d 11, 14 (6th Cir. 1971)
27   (taping of a conversation between an information and a person being
     investigated does not violate Fourth Amendment rights when the
28   consent of the informant is given.”).

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        Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 23 of 43


 1   the sting; nor did he own the walkway adjacent to the courthouse.
 2        On the issue of objective reasonableness, Garcia did not have
 3   a possessory interest in the items used in the sting; Garcia could
 4   not exclude others from the courtroom or the sidewalk adjacent to
 5   the courthouse; Garcia took no precautions to maintain his privacy
 6   outside the courthouse, as he accepted the Bulger tobacco package
 7   from Pluckett on the courthouse steps, a public walkway.                    This
 8   evidence cuts against Plaintiff’s claims of an unreasonable search
 9   under the Fourth Amendment.     See, e.g., United States v. McCaster,
10   193 F.3d 930, 933 (8th Cir. 1999); LaDuke v. Nelson, 762 F.2d 1318,
11   1326 n.11 (9th Cir. 1985).
12        Plaintiff's allegations do not provide a basis for a Fourth
13   Amendment privacy violation by coordinating the sting.17               To the
14   extent that Plaintiff argues that Defendant Taylor violated his
15   Fourth Amendment rights because he did not have probable cause to
16   conduct   a   “reverse-sting”      operation,    Plaintiff’s        claim    is
17   foreclosed by well-established Ninth Circuit precedent.                It is
18   equally   clear    that   Plaintiff     does   not   have    a   “reasonable
19   expectation   of   privacy”   in   a    pre-indictment      sting   operation
20   conducted by trained law enforcement officers on public property.
21
22        17
            Although somewhat unclear, it also appears Plaintiff raises
23   arguments similar to those contained in a line of cases holding
     “where it is the government that initiates the alleged criminal
24   activity and where the government either purchases or supplies the
     drugs, which party initiates the alleged crime is relevant and
25   important in assessing the degree of government involvement in
26   setting up the crime.” See, e.g., Hampton v. United States, 425
     U.S. 484, 491 (1976). Plaintiff’s arguments in this regard are
27   unpersuasive, as the Hampton line of cases involved criminal
     appeals.
28

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           Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 24 of 43


 1   Plaintiff’s attempt to expand the outer boundaries of Fourth
 2   Amendment         jurisprudence           is   unavailing.          The    sting     did   not
 3   constitute            a    search   under      the    Fourth    Amendment.         This    law
 4   enforcement conduct is not actionable.
 5           Agent         Cardwood’s        motion       for     summary      adjudication      on
 6   Plaintiff’s Fourth Amendment claim for lack of probable cause to
 7   conduct a sting operation is GRANTED.
 8
 9           2.        Oral Affidavit of Probable Cause
10           The heart of Garcia’s civil rights challenge is that Affiant
11   Cardwood caused Garcia’s office to be improperly searched without
12   probable cause because Cardwood misrepresented facts and omitted
13   material information from the Oral Affidavit of Probable Cause.
14           A search made without probable cause violates the Fourth
15   Amendment right to be free from unreasonable searches and can be
16   the basis of a claim under 42 U.S.C. § 1983.                        An officer generally
17   has qualified immunity from a claim that he lacked probable cause,
18   absent a showing that a reasonably well-trained officer in his
19   position would have known that his warrant affidavit failed to
20   establish probable cause.                  Malley v. Briggs, 475 U.S. 335 (1986).
21   Where,       as       here,     the     officer       is     accused      of   deliberately
22   misrepresenting and omitting information from the affidavit making
23   it    materially            false   and    misleading,        and   the    officer     claims
24   qualified immunity, the Ninth Circuit has tailored this inquiry.
25   Specifically, in order to survive summary judgment, plaintiff must:
26   (1)    make       a       substantial     showing     that     Deputy     Taylor’s    warrant
27   application contained a false statement or omission that was
28   deliberately false or made with reckless disregard for the truth;

                                                      24
           Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 25 of 43


 1   and (2) establish that if the offending material is excised (and/or
 2   the     omission       is   included),   the    information        provided     to   the
 3   Magistrate would be insufficient to establish probable cause.
 4   Lombardi v. City of El Cajon, 117 F.3d 1117, 1124-26 (9th Cir.
 5   1997); Hervey v. Estes, 65 F.3d 784, 789 (9th Cir. 1995); see also
 6   Liston v. County of Riverside, 120 F.3d 965, 972-73 (9th Cir.
 7   1997).
 8           Whether the statements were deliberately false is ultimately
 9   a factual issue for the jury, but the plaintiff must at least make
10   a "substantial showing" on this issue to survive summary judgment.
11   See Lombardi, 117 F.3d at 1126, n.6; Hervey, 65 F.3d at 790-91.
12   Whether the alleged omissions are material is a question of law for
13   the Court to decide.          Hervey, 65 F.3d at 789.            If the plaintiff can
14   satisfy both of the above requirements, then the officer is not
15   entitled to qualified immunity and the claim proceeds to trial for
16   the     jury    to     determine   whether      the    officer      deliberately      or
17   recklessly included false statements (or omitted information) in
18   the affidavit. Id. at 791.
19
20                  a. Mr. Pluckett’s Reliability
21           In     order    for   Agent   Cardwood        to    be    liable   under     the
22   misrepresentation/omission            framework,           Plaintiff    must     submit
23   admissible       evidence      supporting      his    allegation       that    Cardwood
24   deliberately or recklessly omitted information from his affidavit
25   for a search warrant.          Plaintiff alleges that Deputy Taylor misled
26   Judge Dougherty in his Oral Affidavit because he did not mention
27
28

                                              25
        Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 26 of 43


 1   Pluckett’s criminal history.18       However, these allegations concern
 2   Deputy Taylor - not Agent Cardwood.        Although Agent Cardwood was
 3   present during Deputy Taylor’s recitation of his investigation,
 4   Plaintiff does not provide any evidence that Taylor’s omissions
 5   and/or misrepresentations were known to or should have been known
 6   to Agent Cardwood, to create liability under the Fourth Amendment.
 7   Plaintiff has not cited any case law supporting his theory of a
 8   peace officer’s “duty to correct,” as there is no foundational
 9   evidence that Cardwood had any knowledge about Plunkett or Deputy
10   Taylor’s   alleged    misrepresentations    and   omissions,     which   are
11   Taylor’s.19
12        Garcia relies heavily on a recent Ninth Circuit case, United
13   States v. Stadnisky, 309 F. App’x 185 (9th Cir. 2009), to support
14   his “omission” arguments, contending a minimum standard of required
15   conduct    (i.e.,    corroboration   and   disclosure)   under    the    law
16   enforcement misrepresentation and/or omission analysis. Relying on
17   Stadnisky, Plaintiff argues that “Taylor and Cardwood did not even
18   take those most rudimentary steps ... they never investigated
19   Plunkett’s previous reliability and helpfulness as an informant.”
20   (Doc. 77, 12:11-12:14.) However, Plaintiff’s reliance on Stadnisky
21
          18
22            Plaintiff also claims that nothing Plunkett said was
     against his penal interest. This is not entirely accurate. See
23   United States v. Terry-Crespo, 356 F.3d 1170, 1176 (9th Cir. 2004)
     (observing that exposure to legal sanction for providing false
24   information increases reliability of tip).
25
          19
26          Plaintiff asserts that Taylor did not inform Judge Dougherty
     about Pluckett’s specific criminal history and bolstered Mr.
27   Plunkett’s credibility in the affidavit by covering his true motive
     for helping with the investigation - avoidance of a “third strike.”
28

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        Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 27 of 43


 1   is misplaced for a number of reasons, most notably that the
 2   detectives in Stadnisky relied on information obtained from a
 3   confidential informant, not a known and disclosed informant such as
 4   Mr. Plunkett.    Stadnisky does not support Plaintiff’s litigation
 5   position. If anything, Stadnisky weakens it.       See Florida v. J.L.,
 6   529 U.S. 266, 271 (2000) (stating that a known informant's tip is
 7   thought to be more reliable than an anonymous informant's tip
 8   because an anonymous informant typically cannot be questioned about
 9   the basis for knowing the information or motive for providing the
10   tip, nor can the anonymous informant be held accountable for
11   providing false information in violation of the law.).
12        Assuming, arguendo, that Plaunkett was facing a third strike
13   and that Agent Cardwood knew about it, Plaintiff’s strongest
14   argument is that the issuing judge was prevented from evaluating
15   Plunkett’s credibility and motive to misrepresent based on the
16   withholding of Plunkett’s specific criminal history.
17
18              b.   Did Garcia Open the Bugler Flap?
19        Plaintiff argues that the single most significant material
20   misrepresentation to the judge in Agent Cardwood’s oral affidavit
21   is his misrepresentation that he observed Garcia open the Bugler
22   pouch.20   Cardwood’s Oral Affidavit stated that he observed Garcia
23
24        20
            Cardwood stated in the Affidavit: “I think it’s important
     to clarify, and that in, when during the surveillance, I saw Mister
25   Garcia take possession of, when Mister Plunkett handed it to him.”
26   (“Verbal Search Warrant,” Doc. 58-7, Exh. A, pg. 15.) There does
     not appear to any other mention of Garcia opening the Bugler pouch,
27   other than Taylor stating: “Garcia took the package from him, which
     was a Bugler cigarette pack containing methamphetamine, which he
28   had already looked at.” (Id. at pg. 13.) However, it is undisputed

                                        27
        Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 28 of 43


 1   open the flap, close it, and walk back to his office with the
 2   tobacco pouch in his hand.         Plaintiff testifies that he never
 3   opened the flap of the tobacco bag, but instead only accepted the
 4   Bugler tobacco pouch from Plunkett and took it to his office.
 5   Plaintiff also alleges that as Plunkett handed him the Bugler
 6   pouch,   he   stated,   “if   there’s   anything   else   in   here   besides
 7   tobacco, you take it back to Sylvia or wherever you got it.”            It is
 8   undisputed that Cardwood, who monitored the transaction via audio,
 9   did not include this statement in his Oral Affidavit.            This is an
10   irreconcilable conflict in material facts bearing on Plaintiff’s
11   alleged knowledge that the pouch contained methamphetamine.
12        Omitting, arguendo, the statement about Garcia opening the
13   flap and adding Plaintiff’s statements concerning the package’s
14   contents, does the affidavit still contain sufficient probable
15   cause for a search warrant against Garcia and his law office?              A
16   “totality of the circumstances test” applies to determine whether
17   a search warrant is supported by probable cause.                Illinois v.
18   Gates, 462 U.S. 213 (1983).         This test requires “a practical,
19   common-sense decision whether, given all the circumstances set
20   forth in the affidavit, including the ‘veracity’ and ‘basis of
21   knowledge’ of persons supplying hearsay information, there is a
22   fair probability that contraband or evidence of a crime will be
23   found in a particular place.”       United States v. Feeney, 984 F.2d
24   1053, 1055 (9th Cir. 1993).
25        Here, the affidavit states that Deputy Taylor met with Mr.
26
27
     that Agent Cardwood maintains that he saw Garcia open the lid of
28   the Bugler pouch. (Doc. 58-8, Cardwood Dec. ¶ 7.)

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        Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 29 of 43


 1   Plunkett between three and ten times to investigate Plunkett’s
 2   allegations concerning the jailhouse drug smuggling ring.                Taylor
 3   purportedly confirmed Plunkett’s information (and his credibility)
 4   with outside sources. He then contacted Special Agent Cardwood and
 5   organized   the   reverse      sting   and   obtained     fourteen    ounces    of
 6   methamphetamine     from    the   Merced     County     Sheriff’s    Department.
 7   Deputy Taylor and Agent Cardwood placed the methamphetamine in a
 8   Bugler brand cigarette package, per the reported modus operandi.
 9   The methamphetamine was in plain view upon opening the Bugler
10   package according to Taylor and Cardwood, which is categorically
11   contradicted by Plaintiff.21       This fact can only be resolved by the
12   trier of fact, not the court.
13        According to the affidavit, the “sting” operation required
14   Plaintiff to contact John Garcia at the Merced County Superior
15   Courthouse and give Garcia the Bugler tobacco pouch.                Plunkett was
16   to tell Garcia that he was on a “pass” from Sandy Mush Correctional
17   Facility    and   that   the   package      was   for   Robledo.      After    two
18   unsuccessful attempts to give Garcia the Bugler pouch, Plunkett
19   approached Garcia outside the courthouse.                  The two walked to
20   Garcia’s office together, and Plunkett told Garcia he was on a
21
22        21
             Plaintiff avers that Cardwood misled the judge when he
23   stated the methamphetamine was “outside the bag” and “outside the
     pouch.”   (Doc. 73, 13:27-13:28.)     Plaintiff essentially argues
24   Cardwood’s misrepresentation created an inference that the
     methamphetamine was in “plain view,” leading the issuing judge to
25   find probable cause for knowing possession of methamphetamine.
26   (Id. at 1:27-1:28.)   Drawing all inferences in Plaintiff’s favor,
     coupled with the factual dispute about whether Plaintiff opened the
27   Bugler pouch during his meeting with Plunkett, Cardwood’s statement
     that the meth was “outside the bag,” there is a material factual
28   dispute as to Plaintiff’s knowledge of a controlled substance.

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        Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 30 of 43


 1   “pass” from jail.            At this point, Plunkett produced the Bugler
 2   tobacco pouch containing the methamphetamine and handed it to
 3   Garcia.     Garcia took the Bugler tobacco pouch from Plunkett and
 4   continued walking to his office. Other Task Force members observed
 5   the above events and confirmed that Plaintiff possessed the Bugler
 6   package containing the methamphetamine when he entered his office
 7   building.       However, there is a total conflict in the evidence
 8   whether Plaintiff had knowledge of the presence of the controlled
 9   substance, specifically whether the meth was in “plain view” and
10   whether Plaintiff opened the Bugler flap.
11        Although it is undisputed that the Bugler pouch contained
12   fourteen grams of methamphetamine, Plaintiff took possession of the
13   pouch, and continued on to his office, the dispute is whether
14   Plaintiff opened the tobacco package flap to show knowledge of the
15   presence       of    the    controlled     substance,    which     prevents      the
16   establishment of an essential element of the crime existed to
17   believe that Plaintiff would knowingly accept a Bulger tobacco
18   package with meth for transport to Plaintiff’s incarcerated client
19   at the jail, which Plaintiff took to his office.
20        The affidavit also includes communications between Officer
21   Cardwood       and    Garcia’s    secretary.      Cardwood      called    Garcia’s
22   secretary following the pouch exchange and asked her if an unknown
23   man (Plunkett) followed Garcia into the office. She replied in the
24   affirmative.         She also told Cardwood that when Garcia walked into
25   the office, he handed her the Bugler pouch and told her to “hold on
26   to this.”       Cardwood then states that the secretary and Provencio
27   went into Garcia’s office.               Garcia said “look at what we have
28   here,”    to    which      Provencio   stated,   “I’ll   take    care    of   this.”

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           Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 31 of 43


 1   Provencia then told the secretary it was methamphetamine and
 2   entered the bathroom.             The secretary then heard the toilet flush.
 3           To determine if “what remains [is] sufficient to justify the
 4   issuance of the warrant,” the missing information must be added to,
 5   and    the        misrepresentations     subtracted   from,   Agent   Cardwood’s
 6   affidavit.          Baldwin v. Placer County, 418 F.3d 966, 970 (9th Cir.
 7   2005); Liston, 120 F.3d at 973.             Here, the surviving assertions do
 8   not as a matter of law support a finding that there was probable
 9   cause        to        believe   that   Garcia   knowingly    transported    the
10   methamphetamine to his office or that some portion of it remained
11   at the office at the time Taylor and Cardwood made their oral
12   affidavits. The judge, if Plaintiff’s facts are true, did not have
13   cause to believe that a search of Garcia’s office would lead to the
14   recovery of the methamphetamine and other incriminating evidence
15   related to a scheme to knowingly transport meth to the jail for
16   prisoners.22
17
18                     c.     Miscellaneous Allegations
19           Plaintiff also alleges that the warrant was “overbroad if
20   their purpose was to recover the methamphetamine, this could have
21
             22
22          As to evidence concerning bad faith or a deliberate motive
     to fabricate evidence, Cardwood testified in his declaration that
23   he had only a few brief encounters with Garcia prior to the sting
     operation and that he “never felt animosity towards” him.
24   (Cardwood Dec. ¶ 19.) Plunkett and Agent Carlisle also observed
     Garcia   open  the   Bugler  package,   corroborating  Cardwood’s
25   perceptions.   This according to Plaintiff is false which, if
26   believed, is direct evidence of bad faith and dishonesty.   Based
     on the totality of the evidence, if believed, Plaintiff’s facts
27   could provide the inference Cardwood acted recklessly or in bad
     faith and that he intentionally and/or recklessly misrepresented
28   these facts.

                                                31
        Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 32 of 43


 1   been accomplished by arresting Garcia outside his office.”                       The
 2   Task Force’s purpose was to investigate the smuggling of contraband
 3   into the jail.       Although recovery of the methamphetamine was a
 4   priority, it was not the primary or sole objective.                     (Doc. 58-7,
 5   Exh. A, pgs. 2-3, 16-17.)         “Law enforcement officers are under no
 6   constitutional duty to call a halt to a criminal investigation the
 7   moment they have the minimum evidence to establish probable cause.”
 8   See United States v. Smith, 802 F.2d 1119, 1124 (9th Cir. 1986)
 9   (citing United States v. Leon, 460 F.2d 299, 300 (9th Cir. 1972));
10   see also Hoffa v. United States, 385 U.S. 293, 310 (1966) (stating
11   that “[t]here is no constitutional right to be arrested ... [t]he
12   police are not required to guess at their peril the precise moment
13   at which they have probable cause to arrest a suspect.”).
14
15              d.      Conclusion
16        For the reasons set forth above, Agent Cardwood’s motion for
17   summary adjudication based upon qualified immunity is DENIED.                     If
18   Agent   Cardwood    is    found   by   the   trier   of     fact   to    have    made
19   misrepresentations and omissions, when taken together, present an
20   issue that they were material to the judge’s determination of
21   probable   cause    and    if   the    statements    were    truthful      and   the
22   omissions added, probable cause would not have existed.                    Probable
23   cause to search rested on Plaintiff’s knowledge that the Bugler bag
24   contained methamphetamine; the information allegedly falsified and
25   omitted by Agent Cardwood goes directly to the existence of this
26   requisite knowledge.
27        A reasonable jury could determine that Agent Cardwood acted
28   with at least recklessness in filling out the affidavit, given the

                                             32
        Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 33 of 43


 1   importance     of    Plaintiff’s   knowledge     to   a   probable   cause
 2   determination and the number of misstatements and omissions. Agent
 3   Cardwood is not entitled to qualified immunity on Plaintiff’s
 4   judicial deception claim.
 5
 6        3.      Stop of Plaintiff’s Vehicle
 7             a.        Did Probable Cause Exist?
 8        Plaintiff argues that there was no probable cause to stop and
 9   detain him following the reverse sting operation.           He criticizes
10   the tactics used but does not squarely address the issue of
11   probable cause for post-sting events.           Agent Cardwood, invoking
12   qualified immunity, claims that probable cause was established by
13   Plaintiff’s knowledge of the methamphetamine during the exchange
14   and that any inconsistencies in the affidavit “do not affect the
15   outcome of this case.” The analysis above, however, shows that the
16   discrepancies were not minor, and that the record contains enough
17   evidence, if believed, to support a finding that Agent Cardwood
18   misrepresented these facts. Having already found that there was no
19   probable cause to search Plaintiff's law office for evidence of the
20   crime of knowing possession of a controlled substance, it follows
21   that genuine issues of material fact remain as to whether Cardwood
22   had probable cause to detain Plaintiff for that crime.
23        A peace officer is entitled to qualified immunity in a civil
24   rights action if the district court determines that, in light of
25   clearly established law governing the conduct in question at the
26   time of the challenged conduct, the officer could reasonably have
27   believed that the conduct was lawful.           Pearson v. Callahan, ---
28   U.S. ---, 129 S.Ct. 808 (2009).          The Supreme Court in Saucier v.

                                         33
           Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 34 of 43


 1   Katz,     533    U.S.    194    (2001),   outlined   a    two-step      approach    to
 2   qualified immunity.             The first step requires the court to ask
 3   whether "[t]aken in the light most favorable to the party asserting
 4   the    injury,    do     the    facts   alleged   show    the    officer's    conduct
 5   violated     a   constitutional         right?"   Saucier,       533   U.S.   at   201;
 6   Millender v. County of Los Angeles, 564 F.3d 1143, 1148 (9th Cir.
 7   2009).      "If the answer to the first inquiry is yes, the second
 8   inquiry is whether the right was clearly established: in other
 9   words, 'whether it would be clear to a reasonable officer that his
10   conduct was unlawful in the situation he confronted.'"                    Millender,
11   564 F.3d 1143, 1148 (quoting Saucier, 533 U.S. at 201).                             In
12   Pearson, the Supreme Court held that the court could exercise its
13   discretion in deciding which of the two prongs of the qualified
14   immunity analysis should be addressed first.                 Id. at 818; see also
15   Millender, 564 F.3d at 1149.
16           The Fourth Amendment protects the right of the people to be
17   secure in their persons, houses, papers, and effects, against
18   unreasonable searches and seizures. In conformity with the rule at
19   common law, a warrantless arrest by a law officer is reasonable
20   under the Fourth Amendment where there is probable cause to believe
21   that a criminal offense has been or is being committed.” Devenpeck
22   v. Alford, 543 U.S. 146, 153 (2004) (citing United States v.
23   Watson, 423 U.S. 411, 417-24 (1976)).
24           “Probable       cause   exists    when,   under    the    totality    of   the
25   circumstances known to the arresting officers, a prudent person
26   would have concluded that there was a fair probability that [the
27   defendant] had committed a crime.” United States v. Buckner, 179
28   F.3d 834, 837 (9th Cir. 1999) (quoting United States v. Garza, 980

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        Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 35 of 43


 1   F.2d 546, 550 (9th Cir. 1992)).               Probable cause does not require
 2   overwhelmingly       convincing     evidence,           but   only    “reasonably
 3   trustworthy information.”          Saucier v. Katz, 533 U.S. 194, 207
 4   (2001).
 5          “Probable cause is an objective standard and the officer's
 6   subjective intention in exercising his discretion is immaterial in
 7   judging whether his actions were reasonable for Fourth Amendment
 8   purposes.”       John v. City of El Monte, 505 F.3d 907, 911 (9th Cir.
 9   2007) (citing United States v. Lopez, 482 F.3d 1067, 1072 (9th Cir.
10   2007)).     “It is essential to avoid hindsight analysis, i.e., to
11   consider additional facts that became known only after the arrest
12   was made.”       Id. (citing Hansen v. Black, 885 F.2d 642, 645 (9th
13   Cir. 1989)).
14          The oral affidavit of probable cause to search, while not
15   definitive on the issue of probable cause to make a warrantless
16   arrest,23 provides a guide for determining the facts in Agent
17   Cardwood’s       possession   at   the    time     of    Garcia’s    stop.     The
18   declaration of probable cause to search Garcia’s office and person
19   sets forth: Garcia was the subject of a criminal investigation into
20   his alleged role in an operation involving smuggling contraband
21   into    Merced    County   Jail.    Task       Force    members   claim   to   have
22
23
            23
            Although the parties frame their arguments in terms of an
24   “arrest,” there appears to be an argument that Plaintiff was merely
     detained while the agents obtained a search warrant. See INS v.
25   Delgado, 466 U.S. 210, 216 (1984). Agent Cardwood acknowledges
26   this argument, but gives it short notice. In his reply he states
     that “Plaintiff was never placed under arrest, only lawfully
27   detained while a search warrant was sought and executed.” (Def.’s
     Reply, 3:11-3:14.) He then assumes there was a warrantless arrest
28   and proceeds into his “probable cause” analysis.

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          Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 36 of 43


 1   confirmed Garcia’s alleged role in the operation and organized a
 2   reverse sting whereby a confidential informant would transfer to
 3   Garcia a Bugler pouch containing fourteen grams of methamphetamine.
 4   On the afternoon of February 6, 2006, Garcia took possession of the
 5   tobacco pouch containing the methamphetamine and proceeded to his
 6   office.      Garcia was in his office a few minutes, then left in his
 7   black Volvo.      He was then stopped by an unmarked police vehicle,
 8   searched, and placed in handcuffs.                If the basis to establish
 9   Plaintiff’s knowing possession was fabricated, all that follows is
10   fruit from of the poisonous tree.                See, e.g., United States v.
11   Patane, 542 U.S. 630, 637 (2004) (citing Wong Sun v. United States,
12   371 U.S. 471 (1963)).
13          Plaintiff does not dispute that he met with the Plunkett and
14   took the Bugler pouch - and the methamphetamine, ostensibly to
15   deliver to Robledo.           In essence, Plaintiff does not dispute he
16   possessed fourteen ounces of methamphetamine on the afternoon of
17   February     6,   2006   or   that   he   left    his   office   minutes   later.
18   Plaintiff does dispute his “knowledge” of the contents of the
19   pouch,       claiming    was     not      aware     the    package    contained
20   methamphetamine. Plaintiff argues that this forecloses any finding
21   of probable cause to support a warrantless arrest.
22          Knowing or intentional possession of methamphetamine is a
23   public offense within the meaning of the statute.                 See Cal. Pen.
24   Code, § 15(2), (3) (defining "public offense" as violation of the
25   law for which a person may be, inter alia, imprisoned or fined);
26   Cal. Health & Safety Code, §§ 11377, 11378; 21 U.S.C. § 844(a).
27   Although Agent Cardwood was not required to be completely accurate
28   in     his    belief     that     Plaintiff       knowingly      possessed   the

                                               36
        Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 37 of 43


 1   methamphetamine in order to make a warrantless arrest, he was
 2   required to have known whether the meth was immediately visible in
 3   the pouch to support a believed that Plaintiff knowingly possessed
 4   the methamphetamine in order to make a warrantless arrest.
 5        Here, Plaintiff claims that he did not open the Bugler package
 6   until he arrived at his office and therefore did not knowingly
 7   possess methamphetamine.     (Garcia Dep. 88:14-17; 89:9-14.)            The
 8   record     demonstrates   that   Cardwood’s     belief   is   completely
 9   inconsistent with Plaintiff’s description of what was visible when
10   Plaintiff accepted the Bugler package from Plunkett. Specifically,
11   Plaintiff maintains that he did not open the flap of the Bugler
12   pouch and the methamphetamine was not in “plain view,” negating any
13   purported knowledge of a controlled substance.            Regardless of
14   whether Plaintiff actually did open the package, the Agents could
15   not entertain an honest and strong suspicion that Plaintiff had
16   knowledge of the contents of the Bugler package, which would have
17   revealed the methamphetamine, if it was not visible as Plaintiff
18   has testified.    Probable cause is not established.
19        The focus is on all the facts in Agent Cardwood’s possession
20   and whether, in light of these facts, there was probable cause to
21   arrest Garcia, or whether a reasonable officer could have believed
22   there was probable cause to arrest.           This remains in material
23   dispute.
24        Viewing the evidence in the light most favorable to Plaintiff,
25   he has shown that if the trier of fact believes Plaintiff had no
26   knowledge, he was arrested or detained without probable cause in
27   violation of the Fourth Amendment. The qualified immunity analysis
28   ends there.     See Saucier, 533 U.S. at 201.       There is a genuine

                                        37
        Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 38 of 43


 1   issue    of    material      fact.      Defendants’     motion    for     summary
 2   adjudication on this claim is DENIED.
 3          Although      the   parties   frame    their   arguments   in    terms   of
 4   “probable cause” for arrest, an alternate analysis exists under
 5   Terry v. Ohio, 392 U.S. 1 (1968).             A "Terry" stop or investigative
 6   detention requires only reasonable suspicion that the detainee is
 7   engaged in criminal activity.           Berkemer v. McCarty, 468 U.S. 420,
 8   439 (1984).       "To detain a suspect, a police officer must have
 9   reasonable     suspicion,      or    'specific,    articulable    facts   which,
10   together with objective and reasonable inferences, form the basis
11   for suspecting that the particular person detained is engaged in
12   criminal activity.'" United States v. Michael R., 90 F.3d 340, 346
13   (9th Cir. 1996) (quoting United States v. Garcia-Camacho, 53 F.3d
14   244,    245   (9th    Cir.   1995)).     To    determine   whether     reasonable
15   suspicion existed, the court must consider the totality of the
16   circumstances surrounding the stop. Id. (citing United States v.
17   Hall, 974 F.2d 1201, 1204 (9th Cir. 1992)).
18          This involves no different result based on the dispute over
19   the truthfulness of the law enforcement witnesses version of
20   events. Task Force Agents observed Garcia take the methamphetamine
21   to his law office.           A few minutes later, he exited his office,
22   entered his vehicle, and drove away.              At that time, whether the
23   agents had a reasonable suspicion that Garcia was engaged in
24   criminal activity, i.e., to transport the meth to the jail for
25   Robledo, depends on Plaintiff’s knowledge of the presence of the
26   meth, which is totally in dispute.                These observations do not
27   create a reasonable suspicion that Plaintiff may have been involved
28   in criminal activity if the agents were truthful. If the affidavit

                                              38
        Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 39 of 43


 1   was false, Plaintiff’s detention pending further investigation
 2   pursuant     to    the   search   warrant    was   unnecessary.   Summary
 3   adjudication on this ground is DENIED.
 4
 5                b.     Unreasonable Detention
 6        Although not addressed in his opposition papers, Plaintiff
 7   appeared to raise the issue of unreasonable detention during oral
 8   argument on July 27, 2009.
 9        First, although not disputed by Plaintiff, the length of
10   Plaintiff’s detention was unreasonable if there was no cause for
11   his detention.        In Muehler v. Mena, 544 U.S. 93 (2005), police
12   detained Mena for two to three hours in handcuffs while executing
13   a search warrant.        Id. at 1469.   Here, Plaintiff was detained for
14   approximately three hours while agents waited for a special master.
15   Plaintiff was released ninety minutes after the special master
16   arrived.     Nevertheless, the length of Plaintiff’s detention was
17   unlawful if Plaintiff’s facts are believed.
18        The level of force used by the agents is not disputed, except
19   if there was no cause for the detention.           Although Plaintiff was
20   handcuffed during the search of his office, he was never physically
21   touched by officers, other than to place him in handcuffs or to
22   remove his handcuffs to let him use the bathroom.          In his December
23   30, 2008 deposition, Plaintiff conceded that the officers acted
24   reasonably when they detained him:
25           Q.        Do you have any facts to show that the defendants
                       used unreasonable force?
26
             A.        No. They didn’t manhandle me, they didn’t throw
27                     me to the ground. I wasn’t physically harmed in
                       any way.
28

                                             39
        Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 40 of 43


 1   (Garcia Dep. 195:3-195:7.)
 2        In support of its argument, the County of Merced submitted the
 3   deposition of an expert on police procedures, Mr. Miller, who has
 4   been a full-time peace officer since 1981.24        Mr. Miller testified
 5   in his deposition that in his opinion the agents acted reasonably
 6   in detaining Garcia and excessive force was not used; that the
 7   period of time was not unreasonable because the special master did
 8   not arrive until 1940 hours; Deputy Taylor moved the investigation
 9   along by taking statements from those named in the warrant; and the
10   search took only 95 minutes once the special master arrived.25
11   (Doc. 67-8, ¶ 13.)      Mr. Miller also opined that the officers did
12   not use excessive force as Garcia was purportedly involved in a
13   narcotics smuggling ring.         (Id.)     Miller emphasized that drug
14   offenses are “frequently associated with weapons.”          (Id.)
15        Based   on   the   overall   dispute    in   the   evidence,   summary
16   adjudication is DENIED on Plaintiff’s unreasonable detention claim,
17   because the detention was unlawful if the seizure was tainted by a
18   prior illegal search warrant and search.
19
20
21        24
            Mr. Martin’s deposition is offered in support of County
22   Defendants’ motion for summary judgment. (Doc. 67-8.) However,
     Martin’s declaration, specifically opinions number four, five, and
23   six, addressed the “steps taken by the agents in detaining Mr.
     Garcia.” (Id. at ¶¶ 12-14.)
24
          25
            Portions of Miller’s declaration contain inappropriate legal
25   conclusions. These opinions are inadmissible and not considered.
26   See United States v. Scholl, 166 F.3d 964, 973 (9th Cir. 1999)
     (excluding expert testimony offering a legal conclusion); Aguilar
27   v. International Longshoremen's Union, 966 F.2d 443, 447 (9th Cir.
     1992) (noting matters of law are for the court’s determination, not
28   that of an expert witness).

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          Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 41 of 43


 1                c.   Conclusion Re: Stop of Plaintiff’s Vehicle
 2          After viewing the entirety of the evidence in Plaintiff’s
 3   favor, drawing all inferences in his favor, Defendant is not
 4   entitled to qualified immunity.           There remains disputed material
 5   facts concerning Agent Cardwood’s alleged wrongful conduct under
 6   the Fourth Amendment.
 7          Summary adjudication is DENIED as to Agent Cardwood’s motion
 8   on Plaintiff’s fifth cause of action.
 9
10   C.     State Law Claim - False Arrest/Imprisonment
11          Agent Cardwood argues that summary adjudication is warranted
12   on the false arrest/imprisonment claim for the same reasons that it
13   was warranted for Plaintiff’s claim under § 1983, i.e, because
14   probable cause existed for the search warrant and the arrest.
15          The tort of false imprisonment is: "(1) the nonconsenual,
16   intentional confinement of a person, (2) without lawful privilege,
17   and (3) for an appreciable period of time, however brief." Easton
18   v. Sutter Coast Hosp., 80 Cal. App. 4th 485, 496 (2000). "Under
19   California law, the torts of false arrest and false imprisonment
20   are not separate torts, as false arrest is 'but one way of
21   committing a false imprisonment.'" Watts v. County of Sacramento,
22   256 F.3d 886, 891 (9th Cir. 2001) (quoting Asgari v. City of Los
23   Angeles, 15 Cal.4th 744 (1997)). "A cause of action for false
24   imprisonment based on unlawful arrest will lie where there was an
25   arrest without process followed by imprisonment."         Watts, 256 F.3d
26   at 891 (citing City of Newport Beach v. Sasse, 9 Cal. App. 3d 803
27   (1970)).
28          In this case, Plaintiff alleges that he was falsely arrested

                                          41
          Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 42 of 43


 1   during the vehicle stop prior to the search of his office and that
 2   he     was    falsely        imprisoned        based    on    Agent     Cardwood’s
 3   misrepresentations and omissions in his Oral Affidavit for a Search
 4   Warrant.     Because there is a total dispute as to probable cause for
 5   arrest and detention of Plaintiff based on the Task Force Agents’
 6   observations       that   Plaintiff   possessed        the   methamphetamine      and
 7   returned with it to his office, summary adjudication must be denied
 8   on this claim.
 9          It is disputed whether probable cause existed for Agent
10   Cardwood’s stop of Plaintiff and for the search of his law office.
11   Summary judgment is DENIED as to Plaintiff’s state law claims for
12   false imprisonment/arrest.
13
14                                    IV. CONCLUSION.
15          For the reasons discussed above:
16          1.    The motion for summary adjudication on the first cause of
17   action for assault and the second cause of action for battery is
18   GRANTED.       Plaintiff      concedes    in    his    opposition     that   he   has
19   developed no evidence to support his first and second causes of
20   action for assault and battery.
21          2.    The motion for summary adjudication on the conspiracy
22   allegations contained in Plaintiff’s Fifth Amended Complaint is
23   GRANTED.     In his opposition, Plaintiff abandons any allegations of
24   a conspiracy against Agent Cardwood.
25          3.    The    motion    for   summary      adjudication    on    Plaintiff’s
26   allegations that Agent Cardwood violated his Fourth Amendment
27   rights by conducting a reverse sting operation on February 6, 2006
28   is GRANTED.

                                               42
        Case 1:07-cv-00867-OWW-DLB Document 89 Filed 09/25/09 Page 43 of 43


 1            4.      The    motion      for   summary    adjudication   on   the   Fourth
 2   Amendment claim for judicial deception (Franks claim) is DENIED.
 3            5.      The    motion      for   summary    adjudication   on   the   Fourth
 4   Amendment claim for unreasonable arrest and detention under the
 5   Fourth Amendment is DENIED.
 6            6.      The motion for summary adjudication on the related state
 7   law claim for false arrest/imprisonment is DENIED.
 8            Consistent with Rule 56(d)(1), both parties shall have five
 9   (5) days following service of this decision to file a list of
10   material facts which each party believes are not genuinely at issue
11   for purposes of trial. If separately filed by the parties, these
12   lists shall not exceed five pages.                  To the extent practicable, the
13   parties should meet and confer to determine whether and to what
14   extent any material facts are agreed upon for purposes of trial.
15   Agreed upon facts should be listed in a joint filing. Any such
16   joint filing has no page limitation.
17            Plaintiff shall submit a form of order consistent with, and
18   within        five     (5)   days    following      electronic   service   of,   this
19   memorandum decision.
20   IT IS SO ORDERED.
21   Dated:        September 25, 2009                 /s/ Oliver W. Wanger
     9i274f                                     UNITED STATES DISTRICT JUDGE
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